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  17
                                 UNITED STATES DISTRICT COURT
  18
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19
  20
     Travelers Commercial Insurance             Case No. 2:21-cv-5832-GW (PDx)
  21 Company, a Connecticut Corporation,
                                                JOINT STIPULATION AND
  22                Plaintiff,                  APPLICATION TO MODIFY
                                                SCHEDULING ORDER
  23        v.
                                                L.R. 40-1
  24 New York Marine and General
     Insurance Company, a Delaware              Hon. George H. Wu
  25 Corporation,
                                                Complaint Filed: July 20, 2021
  26                Defendant.                  Trial Date: January 3, 2023
  27
  28

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   1 New York Marine and General                    Filed concurrently with: Declaration of
     Insurance Company, a Delaware                  James P. Wagoner; Declaration of Mark
   2 corporation                                    D. Peterson; Request for Judicial Notice
   3                Counter-Claimant
   4        v.
   5 Travelers Commercial Insurance
     Company, a Connecticut corporation,
   6
                 Counter-Defendant
   7
   8
   9 I.     INTRODUCTION
  10        As the Court is aware, this litigation encompasses a dispute between insurer-
  11 Plaintiff and Counter-Defendant Travelers Commercial Insurance Company
  12 (“Travelers”) and Defendant and Counter-Claimant New York Marine and General
  13 Insurance Company (“NY Marine”) concerning their respective rights, obligations
  14 and duties with respect to the defense of their mutual insured in ongoing underlying
  15 litigation.
  16        After NY Marine filed its motion to dismiss Travelers’ initial complaint,
  17 Travelers filed a First Amended Complaint, to which NY Marine filed a further
  18 motion to dismiss. This Court heard hearings on the motion to dismiss on December
  19 13, 2021, January 20, 2022; January 27, 2022; and February 17, 2022. The parties
  20 held a Rule 26 conference on February 22, 2022, and this Court held a Rule 26
  21 Scheduling Conference on March 3, 2022. NY Marine then filed its Answer to
  22 Travelers’ First Amended Complaint and Counterclaim on March 25, 2022, and
  23 accordingly, this matter did not come to issue until April 15, 2022, when Travelers
  24 filed its Answer to NY Marine’s Counterclaim. The parties have thereafter engaged
  25 in extensive discovery, resulting in the production of more than 159,000 pages of
  26 documents solely from their own respective claim files. In addition, both parties have
  27 issued subpoenas to other law firms which represented their mutual insured and have
  28 received objections as well as numerous documents produced by them. In addition

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   1 the parties anticipate receiving additional documents in response to those subpoenas.
   2 The parties are also in the process of negotiating with third parties, including multiple
   3 attorneys, concerning both their responses to subpoenas for records and their
   4 availability to appear for depositions in this matter.
   5         Notwithstanding the foregoing efforts, neither Travelers nor NY Marine
   6 anticipate that the parties will be reasonably able to complete discovery, mediation,
   7 or prepare for trial within the cutoffs established by the Court in its March 3, 2022,
   8 Scheduling Order. This is due to a host of factors: (1) the sheer volume of documents
   9 produced; (2) the necessity of coordinating the production of information from
  10 various third-parties, including material which those parties contend is privileged; (3)
  11 the parties’ ongoing efforts to obtain documents from and schedule the depositions of
  12 multiple-party-affiliated witnesses; (4) the parties’ further ongoing efforts to obtain
  13 documents from and schedule the depositions of third-party attorney-witnesses
  14 located in at least four states, including of attorney-witnesses who have expressed
  15 reluctance to be deposed separately in both this matter and in the related litigation
  16 entitled New York Marine and General Insurance Company v. Amber Heard, United
  17 States District Court, Central District of California, Case no. 2:22-cv-04685 (the “NY
  18 Marine v. Heard” litigation) (or indeed to be deposed at all); (5) the anticipated
  19 necessity of bringing separate motions to compel the non-party attorneys’ compliance
  20 with subpoenas for documents which will need to be filed in three different courts:
  21 this Court; the Southern District of New York; and the United States District Court
  22 for the District of Columbia, respectively; (6) ongoing negotiations regarding PMK
  23 deposition topics; and (7) difficulties in scheduling a mediation before the parties’
  24 mutually agreed-upon Mediator, Ralph O. Williams III of ADR Services, Inc.
  25         Moreover, these considerations are of particular note given Travelers’ pending
  26 motion to consolidate this matter with the NY Marine v. Heard litigation (which is not
  27 yet at issue), which motion is presently scheduled to be heard on October 17, 2022.
  28         Accordingly, Travelers and NY Marine jointly apply to this Court for an Order

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   1 vacating and modifying the scheduling order, continuing all relevant dates, including
   2 and the trial date and all relevant intervening deadlines by approximately 180 days,
   3 with trial on or about June 26, 2023, or until such time thereafter as the Court deems
   4 appropriate and convenient.1
   5 II.     BACKGROUND AND TIMELINE
   6         A.     Procedural and Scheduling Background In This Litigation
   7         This case was initially filed on July 20, 2021. The parties thereafter vigorously
   8 addressed the sufficiency of the claims asserted in the Complaint and the subsequent
   9 First Amended Complaint. (See, e.g., Dkt. Nos. 1-48.) As a result, this matter was not
  10 at issue until April 15, 2022, when Travelers filed its Answer to NY Marine’s
  11 Counterclaim. (Dkt. No. 48.)
  12         On March 1, 2022, the parties filed their Joint Rule 16(b)/26(f) Report, which
  13 proposed, as relevant, the following procedural deadlines:
  14         Initial Disclosures:                    April 29, 2022
  15         Mediation Deadline:                     October 31, 2022
  16         Mediation Status Report:                November 10, 2022
  17         Non-Expert Discovery:                   January 20, 2023
  18         Expert Disclosure (Initial):            February 10, 2023
  19         Expert Disclosure (Rebuttal):           March 10, 2023
  20         Expert Discovery Cut-off:               March 24, 2023
  21         Motion Filing:                          April 10, 2023
  22         Pre-trial/Trial:                        June 26, 2023-July 2023
  23 (Dkt # 54, at pp. 9-11.)
  24
  25   1
       In this regard, the parties note that NY Marine’s lead counsels have a trial presently
  26 scheduled to commence in the Central District on April 4, 2022, while Travelers’
     lead counsels will be unavailable due to foreign travel from April 22, 2023 to May
  27 26, 2023. (Declaration of Mark D. Peterson (“Peterson Decl.”) ¶ 4; Declaration of
  28 James P. Wagoner (“Wagoner Decl.”) ¶ 32.)

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   1         On March 3, 2022, the Court issued its Scheduling Order, which set the
   2 following deadlines:
   3         Discovery Cutoff:                       October 4, 2022
   4         Mediation Cutoff:                       October 11, 2022
   5         Post-Mediation Status Conference:       October 13, 2022 at 8:30 a.m.
   6         Expert Discovery Cutoff:                November 4, 2022
   7         Motion Hearing Cutoff:                  December 1, 2022
   8         Pretrial Conference:                    December 22, 2022 at 8:30 a.m.
   9         Court Trial:                            January 3, 2023 at 9:00 a.m.
  10 (Dkt. No. 55.)
  11         B.    Other Litigation
  12         As this Court is also aware by virtue of its decision on July 12, 2022 to relate
  13 the two cases pursuant to General Order 21-01, on July 8, 2022, NY Marine filed the
  14 NY Marine v. Heard litigation, and on July 11, 2022, filed a First Amended Complaint
  15 in that action. (Wagoner Decl. ¶ 2; Request for Judicial Notice (“RJN”), ¶¶ 1-2, Ex.
  16 1-2.)
  17         With respect to the present status of that litigation, NY Marine has negotiated
  18 an agreement pursuant to which Mr. Kirk Pasich, counsel for Defendant, has agreed
  19 to accept service on her behalf of the First Amended Complaint by way of a Notice
  20 of Acknowledgement and Receipt. Those and related documents were provided to
  21 Mr. Pasich on August 31, 2022. (Wagoner Decl. ¶ 3.) Nevertheless, as of the filing of
  22 this Application, the Defendant’s signed Notice of Receipt and Acknowledgment of
  23 Service of Summons and Complaint has not been returned to NY Marine, and thus
  24 Defendant is not legally obligated to do so any earlier than September 20, 2022.
  25 (Wagoner Decl. ¶ 4.) As a result, Defendant has not yet filed a responsive pleading
  26 and does not have any present legal obligation to do so until, at the latest, October 14,
  27 2022. (Id.) In consequence, that matter is not presently at issue and thus discovery in
  28 that action is not yet open.

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   1         On August 24, 2022, Travelers filed a motion to consolidate the NY Marine v.
   2 Heard litigation with the present action. (Wagoner Decl., ¶ 5; RJN, ¶ 3, Ex. 3.) The
   3 hearing on Travelers’ motion to consolidate this action and the NY Marine v. Heard
   4 litigation is set for October 17, 2022. (Wagoner Decl. ¶ 5; RJN, ¶ 3, Ex. 3.) .) Pursuant
   5 to an agreement between the parties, NY Marine’s Opposition will be due on
   6 September 19, 2022, and Travelers’ Reply will be due on October 3, 2022. (Peterson
   7 Decl. ¶ 2; Wagoner Decl., ¶ 5.)
   8         C.    Discovery Efforts In The Present Litigation
   9         Shortly after the matter became at issue, NY Marine served special
  10 interrogatories, requests for admission and requests for production on Travelers on
  11 March 19, 2022. (Wagoner Decl., ¶ 6.) Travelers requested and NY Marine granted it
  12 a two week extension of time to respond. Travelers thereafter requested a further
  13 extension, and NY Marine agreed to a further one (1) week extension, but declined
  14 any further extension. Travelers then served responses to the interrogatories, requests
  15 for admissions and requests for production on May 9, 2022. (Id., at ¶ 7.) On June 7,
  16 2022, Travelers served its initial disclosures, along with 100,206 pages of documents
  17 encompassing both its initial disclosures and documents responsive to NY Marine’s
  18 requests for production. (Id., at ¶ 8.) On June 27, 2022, NY Marine provided Travelers
  19 with its initial disclosures, as well as 27,576 pages of documents. (Id., at ¶ 9 .) On
  20 August 22, 2022, Travelers produced an additional 31,768 pages of documents to NY
  21 Marine. (Id., at ¶ 10.) Thus, to date, between themselves the parties have exchanged
  22 a total of 159,550 pages solely from their claim files. (Id., at ¶ 11.) Given the volume
  23 of documents produced, the parties have not yet completed a full detailed review of
  24 the respective productions. (Id., at ¶ 12.)
  25         In addition, the parties have served subpoenas for production of documents and
  26 depositions on a number of law firms who were retained or paid by the Travelers
  27 and/or NY Marine to represent the insured in the underlying litigation against her.
  28 Specifically, on July 5, 2022, NY Marine served a subpoena for records on non-party

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   1 Kaplan Hecker & Fink, LLP (“Kaplan Hecker”), a law firm located in New York,
   2 which initially represented the insured in the underlying litigation; NY Marine also
   3 served a July 5, 2022 subpoena for records on non-party Charlson Bredehoft Cohen
   4 Brown & Nadelhaft (“Charlson Bredehoft”), a law firm located in Virginia which
   5 subsequently represented the insured in the Underlying litigation; additionally, on
   6 July 5, 2022 NY Marine served a subpoena for records on non-party Eisner, LLP, a
   7 law firm located in California which represented the insured as personal counsel, but
   8 which was not an attorney of record in the underlying litigation. (Wagoner Decl., at ¶
   9 13.) Though the Charlson Bredehoft and Eisner law firms have each produced certain
  10 documents in response to NY Marine’s subpoena, each of the non-party law firms—
  11 Kaplan Hecker, Charlson Bredehoft, and Eisner—have also served objections to the
  12 subpoenas: Eisner LLP serving its objections and responses on July 25, 2022, along
  13 with a written explanation thereof; Kaplan Hecker served objections via written
  14 correspondence on July 29, 2022, August 4, 2022, and September 1, 2022; and
  15 Charlson Bredehoft served objections on July 25, 2022. (Id., at ¶ 14.)
  16        On August 22, 2022, Travelers served a subpoena on Sean Roche of Cameron
  17 McEvoy, PLLC, which firm was initially retained by the insured and which, upon the
  18 insured’s tender, was appointed by NY Marine as the insured’s defense counsel. That
  19 subpoena sought the production of documents and also Mr. Roche’s deposition.
  20 (Wagoner Decl., ¶ 15.) The parties and Mr. Roche thereafter met and conferred
  21 concerning Travelers’ subpoena to Mr. Roche and the Cameron McEvoy Firm on
  22 August 22, 2022, August 23, 2022, and August 24, 2022, and Cameron McEvoy
  23 produced responsive, non-privileged documents in response to the subpoena on
  24 August 23, 2022. (Wagoner Decl., ¶ 16.) The parties and Mr. Roche likewise agreed
  25 that his deposition will proceed on September 27, 2022. (Id.)
  26        The parties have since engaged in meet-and-confer efforts with each of the non-
  27 party witnesses in order to secure their compliance with the various subpoenas for
  28 documents and to secure the depositions of key witnesses at each of those firms.

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   1 Specifically, NY Marine has exchanged multiple emails with Mr. John Quinn of the
   2 Kaplan and Hecker firm, and formally met and conferred with him via phone on July
   3 15, 2022, August 24, 2022, and August 25, 2022 concerning both the Kaplan Hecker
   4 firm’s responses to the subpoena and the setting of a deposition of Ms. Roberta Kaplan
   5 who represented the insured in the underlying litigation for a time. (Wagoner Decl.,
   6 at ¶ 16.) That firm has indicated that it will produce a limited subset of documents
   7 requested and provide a more fulsome explanation of the grounds on which it has
   8 declined to produce additional documents. (Id., at ¶ 7.) Consequently, on September
   9 1, 2022, it provided a letter elucidating its position and asserting that at the instruction
  10 of its client (the parties’ mutual insured), it would produce only correspondence
  11 previously exchanged with one or both of the parties in this action; to date, however,
  12 it has not produced any of those documents. (Id.)
  13         Likewise, following receipt of the Eisner firm’s objections and responses,
  14 counsel for NY Marine met and conferred with Mr. Reynolds of the Eisner firm by
  15 telephone on August 5, 2022, and has subsequently met and conferred with him
  16 regarding the setting of his deposition. (Wagoner Decl., at ¶ 18.) Notably, although
  17 Mr. Reynolds has indicated that he is willing to appear for a deposition, he has also
  18 indicated that he is unwilling to sit twice for separate depositions in both this litigation
  19 and in the NY Marine v. Heard litigation. (Id.)
  20         Similarly, after NY Marine wrote to the Charlson Bredehoft firm on August 6,
  21 2022 seeking to arrange a meet and confer regarding that firm’s objections to NY
  22 Marine’s subpoena, NY Marine was informed that separate counsel had been retained
  23 and would be in contact with NY Marine’s counsel. (Id., at ¶ 19.) However, it was
  24 only on August 30, 2022 that counsel for NY Marine was contacted by Mr. Richard
  25 Simpson, Esq., of Wiley Rein, LLP, who confirmed that he had been retained to
  26 represent the Charlson Bredehoft firm in response to NY Marine’s subpoena, and
  27 agreed to meet and confer with NY Marine’s counsel following his return from his
  28 previously scheduled travel. (Id.) Consequently, due to the delay on account of the

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   1 Charlson Bredehoft firm’s need to retain counsel, and as a result of Mr. Simpson’s
   2 travel schedule, the call between Mr. Simpson and the undersigned counsel for NY
   3 Marine did not occur until September 6, 2022, the earliest date upon which Mr.
   4 Simpson was available. (Wagoner Decl., ¶¶ 18-19.)
   5         Given the foregoing, and in particular given that each of the law firms have
   6 raised objections primarily based on the attorney-client privilege and work-product
   7 doctrine, the parties anticipate that NY Marine will be required to bring motions to
   8 compel against each of those non-parties in order to obtain full compliance by the
   9 subpoenaed parties with the requests set forth in the respective subpoenas for
  10 documents served upon them. (Id., at ¶ 20.) To that end, NY Marine is in the process
  11 of preparing such motions for filing. However, because the firms are located in
  12 different states, the motions will need to be filed in multiple jurisdictions: the motion
  13 as against the Eisner firm will be filed in in this District before Magistrate Judge
  14 Donahue, as Mr. Reynolds is located in Eisner’s LA office; the motion against the
  15 Kaplan Hecker firm will be filed in the United States District Court for the Southern
  16 District of New York where the relevant attorneys and documents are located; and
  17 with respect to the Charlson Bredehoft firm, the motion will be filed in the United
  18 States District Court for the District of Columbia where the documents requested by
  19 the subpoena were required to be produced. (Id.)
  20         Furthermore, although the parties have mutually engaged in extensive meet-
  21 and-confer conferences with the various non-party law firms in attempts to obtain
  22 mutually agreeable dates for the depositions of key witnesses from those firms, to
  23 date, only third-party law firm Cameron McEvoy, LLP, which also represented the
  24 insured in the underlying action, has reached agreement with Travelers and NY
  25 Marine as to the date for a deposition of its representative, Sean Roche. (Wagoner
  26 Decl., ¶ 21.) Due to Mr. Roche’s own trial calendar and vacation schedule, that
  27 deposition is not scheduled to proceed until September 27, 2022—just seven days
  28 before the present discovery cutoff. (Id.)

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    1         Turning to the depositions of the parties’ own witnesses, NY Marine has agreed
    2 to provide the deposition of its claims handler on Thursday, September 29, 2022, and
    3 has offered the deposition of its PMK on Saturday, October 1, 2022. (Wagoner Decl.,
    4 ¶ 23.) Nevertheless, Travelers’ lead trial counsel is presently out of the country on a
    5 three-week trip which was planed in March, and consequently is unavailable from
    6 August 27, 2022 until September 19, 2022. (Peterson Decl. ¶ 3.) Likewise, counsel
    7 for Travelers has advised NY Marine that Travelers’ claims professional, who may
    8 also be its person most knowledgeable and who has since retired, will agree to
    9 voluntarily appear for a deposition, but is “not available the last half of September
   10 and first week of October due to being in Houston for a surgery and recovery of a
   11 family member”, and “also has a trip planned October 21 returning on about the
   12 October 31.” (Id.) Consequently, although NY Marine unilaterally set her deposition
   13 for Monday, October 3, 2022, given her personal schedule it does not appear that she
   14 will be available for deposition until after the present discovery cut-off, and the parties
   15 have tentatively agreed that her deposition will proceed on October 13, 14, or 18,
   16 2022. (Wagoner Decl. ¶¶ 23-24.)
   17         D.     Mediation
   18         The parties have also engaged in extensive meet and confer efforts to identify
   19 a mediator who both parties agree would be an appropriate neutral qualified to address
   20 the insurance coverage and equitable issues present in this matter. In so doing, the
   21 parties have considered at least eight (8) mediators. (Wagoner Decl., ¶ 25.) Based on
   22 their search, the parties have agreed to use Mr. Ralph O. Williams III of ADR
   23 Services. (Id.) However, as of August 22, 2022, Mr. Williams had availability only
   24 on November 11, 2022, November 14, 2022, and December 5th, 12th, 15th, and 19th,
   25 2022. (Id.) Given the parties’ interest in having Mr. Williams mediate this matter, the
   26 parties have currently reserved the date of November 14, 2022 for a mediation before
   27 Mr. Williams. (Id.) This date is beyond the current deadline of October 10, 2022
   28 which the Court’s March 3, 2022 Scheduling Order set as the deadline for the parties

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    1 to mediate.
    2 III.      BASIS FOR STIPULATION AND APPLICATION
    3           A.    Legal Standard
    4           Federal Rule of Civil Procedure Rule 16(b) states that a “scheduling order shall
    5 not be modified except by leave of court and upon a showing of good cause.” Matrix
    6 Motor Co., Inc. v. Toyota Jidosha Kabushiki Kaisha, 218 F.R.D. 667, 671 (C.D.Cal.
    7 2003); Zivkovic v. Southern Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002);
    8 Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). The “good
    9 cause” standard “primarily considers the diligence of the party seeking the
   10 amendment.” Zivkovic, supra, 302 F.3d at 1087; Johnson, supra, 975 F.2d 604, 609;
   11 Matrix Motor Co., Inc., supra, 218 F.R.D. at 671. And, “[a] party demonstrates good
   12 cause for the modification of a scheduling order by showing that, even with the
   13 exercise of due diligence, he or she was unable to meet the timetable set forth in the
   14 order.” Matrix Motor Co., Inc., supra, 218 F.R.D. at 671; Zivkovic, supra, 302 F.3d
   15 at 1087; Johnson, supra, 975 F.2d 604, 609.
   16           B.    Good Cause Exists to Grant the Stipulation and Application
   17           As outlined above, since this matter came to issue, the parties have engaged in
   18 substantial and voluminous discovery, and have mutually engaged in extensive meet-
   19 and-confer efforts, not only between themselves but also with various third-party-
   20 witnesses to obtain documents and deposition testimony. Despite the parties’
   21 diligence however, several factors have combined to render unrealistic the completion
   22 of discovery, mediation, motion-work and preparation for trial consistent with the
   23 schedule presently set under the Court’s March 3, 2022 Scheduling Order.
   24           In this respect, the parties’ own voluminous discovery productions, and the
   25 time required to review those documents, resulted in the parties not being able to even
   26 begin addressing third party witnesses until early July. (Wagoner Decl., ¶ 26.)2
   27
        2
   28       Indeed, as noted above, NY Marine itself has not even finished a complete review

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    1 Likewise, the parties’ efforts to obtain documents from the identified third-party
    2 witnesses have been substantially impeded by objections served by each of the
    3 witnesses in response to those subpoenas. (Id., at ¶ 27.) Despite meet-and-confer
    4 efforts, the third-party witness’ objections are largely grounded in claims of attorney-
    5 client privilege and the work-product doctrine, and as such, NY Marine has not had
    6 success in obtaining agreements concerning the production of materials it deems both
    7 not subject to any privilege objections and critical to its defenses and claims. (Id., at
    8 ¶¶ 27-29.) As a result, NY Marine anticipates filing motions to compel, potentially in
    9 multiple venues, including at least California, New York and the District of Columbia.
   10 (Id., at ¶ 20.) Although NY Marine anticipates that the motion to compel further
   11 responses from the Eisner law firm will be filed within the next fourteen days, it is
   12 virtually certain that none of these motions will be resolved before the presently-
   13 scheduled October 4, 2022 discovery cut-off deadline in this litigation. Indeed,
   14 because each of the firms have raised virtually identical objections, NY Marine
   15 continues to meet and confer with those firms to ascertain whether multiple motions
   16 will be necessary, or whether the Kaplan Hecker and Charlson Bredehoft firms would
   17 abide by a ruling of the Court with respect to the subpoena to Eisner LLP to be filed
   18 and heard by Magistrate Judge Patricia Donahue in this Court. (Id.)
   19        With respect to the depositions of key third-party attorney-witnesses with the
   20 Kaplan Hecker, Eisner, and Charlson Bredehoft firms, each of those firms have raised
   21 objections and considerations over which the parties are still meeting and conferring.
   22 In this respect, Jeremiah Reynolds of the Eisner LLP firm has informed the parties
   23 that although he is willing to appear for a deposition, he is unwilling to be deposed
   24 separately in this matter and in the related NY Marine v. Heard litigation. However,
   25
   26
      of the documents received from Travelers, having received an additional 31,768 pages
   27 of documents from Travelers on August 22, 2022, a total of 131,974 pages from
   28 Travelers since June 7, 2022. (Wagoner Decl. ¶ 26.)

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    1 discovery there is not yet open, and will not open until well-after the close of the
    2 present discovery cutoff in this matter. (Wagoner Decl., ¶ 29.) Similarly, although the
    3 Kaplan Hecker firm has agreed “in principle” to permit a deposition, no firm date has
    4 been agreed, and that firm has also expressed concerns not only about privilege issues,
    5 but also regarding the risk of multiple depositions in both this action and the NY
    6 Marine v. Heard litigation. (Id..) Finally, though the undersigned counsel for NY
    7 Marine met and conferred with counsel for the Charlson Bredehoft firm on September
    8 6, 2022, to date that law firm has not made any firm agreement to produce additional
    9 materials, nor has it agreed to a date for the deposition of Ms. Bredehoft. (Id.)
   10         Travelers and NY Marine have also engaged in and continue to engage in
   11 obtaining mutually agreeable deposition dates for their own respective key
   12 personnel’s depositions. To that end, the parties have tentatively agreed to the
   13 deposition of NY Marine’s claim handler on September 29, 2022 and its person most
   14 knowledgeable on October 1, 2022. (Wagoner Decl., ¶ 22.) And as noted, the parties
   15 have also sought to arrange mutually agreeable dates for the depositions of Travelers’
   16 claims professional as well as its PMK
   17         Nevertheless, several factors have again constrained the parties’ availability for
   18 these depositions in addition to the parties’ need to review their respective voluminous
   19 document productions prior to undertaking the depositions. First, as noted above, the
   20 fact that Travelers’ lead counsel, Mr. Peterson, is unavailable until September 19th,
   21 when he returns from a three week foreign trip. (Peterson Decl. at ¶ 3.) Likewise, as
   22 noted above, Travelers’ claim professional is now unavailable in late September and
   23 the first week of October for familial and medical reasons. (Id.) Finally, religious
   24 holidays on September 26-27, 2022 and October 4-5, 2022 impact the availability of
   25 NY Marine’s PMK to prepare, travel for, and attend her deposition. (Wagoner Decl.
   26 ¶ 30.) Consequently, the fact that neither Travelers’ lead counsel nor its claim
   27 professional/PMK were or will be simultaneously available from late August through
   28 early-mid October has limited NY Marine’s ability to take her deposition. In light of

                                                  13
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    1 the present discovery cut-off, NY Marine unilaterally noticed Travelers’ Claims
    2 Professional’s and PMK’s depositions for Monday, October 3, 2022; however, given
    3 the parties’ schedules, the only available window upon which the parties have reached
    4 tentative agreement for those deposition are the dates of October 13th, 14th, or 18th—
    5 more than a week after the present discovery cut-off. (Wagoner Decl. ¶ 24.)
    6         Moreover, the simple fact remains that even if the respective deponents are
    7 available for their depositions on or before October 4, 2022, it appears highly unlikely
    8 that the parties will obtain all requested third-party documents and depositions—
    9 which the parties mutually agree are likely to be critical to their respective claims and
   10 defenses—before the present October 4, 2022 discovery cutoff. (Wagoner Decl. ¶ 31.)
   11         Accordingly, the parties submit that they have engaged and continue to engage
   12 diligently and cooperatively in discovery and related efforts in an attempt to bring this
   13 matter to a prompt resolution. Nevertheless, the substantial volume of the parties’ own
   14 document productions, the need for discovery and depositions of multiple non-party
   15 attorney-witnesses residing both in and outside of California and related ongoing
   16 discovery efforts and related motions to compel, as well as the respective personal
   17 schedules and religious holidays observed by key party-principles preclude the parties
   18 from reasonably completing all necessary discovery, mediation, motion-work and
   19 trial preparation on the Court’s presently ordered schedule. The parties accordingly
   20 submit that good cause exists for this Court to grant an Order vacating and modifying
   21 the present deadlines and continuing all deadlines by approximately 180 days, or until
   22 such time as is convenient for the Court.
   23 IV.     CONCLUSION
   24         The Parties jointly submit that good cause exists to vacate and modify the
   25 Scheduling Order in this matter to extent all deadlines by approximately 180 days, or
   26 until such time thereafter as the Court shall deem appropriate and convenient.
   27
   28

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    1 Dated: September 9, 2022                                 CATES PETERSON, LLP
    2
    3                                               By:            /s/ Mark D. Peterson
                                                                   Mark D. Peterson
    4
                                                                 Kathleen O. Peterson
    5                                                                Amy Howse
                                                     Attorneys for Plaintiff Travelers Commercial
    6
                                                                 Insurance Company
    7
    8 Dated: September 9, 2022                        McCORMICK, BARSTOW, SHEPPARD,
                                                          WAYTE & CARRUTH LLP
    9
   10
                                                    By:           /s/ James P. Wagoner
   11
                                                                 James P. Wagoner
   12                                                              Lejf E. Knutson
   13                                                         Nicholas H. Rasmussen
                                                              Graham A. Van Leuven
   14                                              Attorneys for Defendant New York Marine and
   15                                                       General Insurance Company

   16                         CERTIFICATION PURSUANT TO L.R. 5-4.3.4
   17
                    The undersigned hereby certifies that all signatories to this Joint Stipulation and
   18
        Application to Modify Scheduling Order concur in the contents of this filing, and have
   19
        authorized the undersigned to sign and file this document on their behalf.
   20
   21
        Dated: September 9, 2022                      McCORMICK, BARSTOW, SHEPPARD,
   22                                                     WAYTE & CARRUTH LLP
   23                                               By:           /s/ James P. Wagoner
   24                                                            James P. Wagoner
                                                                   Lejf E. Knutson
   25                                                         Nicholas H. Rasmussen
   26                                                         Graham A. Van Leuven
                                                   Attorneys for Defendant New York Marine and
   27                                                       General Insurance Company
   28   8627015.1


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    1                                 PROOF OF SERVICE
    2   Travelers Commercial Insurance Company v. New York Marine and General
                                  Insurance Company
    3
        STATE OF CALIFORNIA, COUNTY OF FRESNO
    4
            At the time of service, I was over 18 years of age and not a party to this action.
    5 I am employed in the County of Fresno, State of California. My business address is
      7647 North Fresno Street, Fresno, CA 93720.
    6
            On September 9, 2022, I served true copies of the following document(s)
    7 described as JOINT STIPULATION AND APPLICATION TO MODIFY
      SCHEDULING ORDER on the interested parties in this action as follows:
    8
      Mark D. Peterson
    9 Kathleen O. Peterson
      Amy Howse
   10 Cates Peterson LLP
      4100 Newport Place, Suite 230
   11 Newport Beach, CA 92660
      Telephone: (949) 724-1180
   12 Email: markpeterson@catespeterson.com
      kpeterson@catespeterson.com
   13 ahowse@catespeterson.com
   14 Attorneys     for    Plaintiff    Travelers
      Commercial Insurance Company
   15
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
   16 the document(s) with the Clerk of the Court by using the CM/ECF system.
      Participants in the case who are registered CM/ECF users will be served by the
   17 CM/ECF system. Participants in the case who are not registered CM/ECF users will
      be served by mail or by other means permitted by the court rules.
   18
             I declare under penalty of perjury under the laws of the State of California that
   19 the foregoing is true and correct.
   20         Executed on September 9, 2022, at Fresno, California.
   21
   22                                                  /s/ Heather Ward
                                                  Heather Ward
   23
   24
   25
   26
   27
   28

                  JOINT STIPULATION AND APPLICATION TO MODIFY SCHEDULING ORDER
